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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )      CASE NO: 18-68449-LRC
                                              )
ELLIS WILTON GARNER                           )
                                              )      CHAPTER 13
         DEBTOR.                              )

             NOTICE OF HEARING ON CONFIRMATION OF PLAN AND OF
             DEADLINE FOR OBJECTIONS TO CONFIRMATION OF PLAN

       PLEASE TAKE NOTICE that the Debtor has filed a Chapter 13 Plan which may
materially and adversely change the treatment or rights of creditors.

       Your rights may be affected. You should read the Chapter 13 Plan carefully and
discuss it with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.

        If you oppose confirmation of the Chapter 13 Plan, and do not want the court to confirm it,
or if you want the Court to consider your views, then not less than seven days before the hearing
on confirmation scheduled below, you or your attorney must:

       (1) File with the court a written objection, explaining your positions and views as to why
the court should not confirm the Chapter 13 Plan. The written objection must be filed at the
following address:

         Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta, Georgia
30303.

       If you mail your response to the Clerk for filing, you must mail it early enough so that the
Clerk will actually receive it not less than seven days before the hearing on confirmation scheduled
below.

        (2) Mail or deliver a copy of your written objection to the Debtor's attorney at the address
stated below and to the Chapter 13 Trustee. You must attach a certificate of service to your written
objection, stating when, how, and on whom (including addresses) you served the objection.

       If you or your attorney do not file a timely objection, the court may decide that you do not
oppose confirmation of the Chapter 13 plan.

       A hearing on confirmation of the Chapter 13 Plan, will be held in Courtroom 1204, United
States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 at 9:30 A.M. on July
30, 2019. You or your attorney must attend the hearing and advocate your position.
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Dated: June 26, 2019

__/s/________________
Howard Slomka, Esq.
GA Bar #652875
Attorney for Debtor
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Overlook III
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Suite 1700
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IN RE:                                     )   CASE NO: 18-68449-LRC
                                           )
ELLIS WILTON GARNER                        )
                                           )   CHAPTER 13
         DEBTOR.                           )


                               CERTIFICATE OF SERVICE

This is to certify that I have this day served a copy of the within and NOTICE OF HEARING
ON CONFIRMATION OF PLAN AND OF DEADLINE FOR OBJECTIONS TO
CONFIRMATION OF PLAN, in the above styled case by depositing same in the United States
mail with the adequate postage affixed thereto to insure delivery addressed as follows:

Department of the Treasury
Internal Revenue Service
P.O. Box 7346
Philadelphia PA 19101-7346

Santander Consumer USA Inc., an Illinois
corporation d/b/a Chrysler Capital.
P.O. Box 961275
Fort Worth, TX 76161-1245

Deutsche Bank National Trust Company
c/o Ocwen Loan Servicing, LLC
Attn: Bankruptcy Department
PO Box 24605
West Palm Beach, FL 33416-4605

DATED: June 26, 2019

____/s/______
Howard P. Slomka
Georgia Bar #652875
Attorney for the Debtor
Slipakoff & Slomka, PC
2859 Paces Ferry Rd, SE, Suite 1700
Atlanta, GA 30339
